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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                       )
                                                           )
                                                           )
                  Plaintiff,                               )
                                                           )
 v.                                                        )   Case No. 4:17-cv-00454-GKF-JFJ
                                                           )
 1) CASTLE HILL STUDIOS LLC                                )
    (d/b/a CASTLE HILL GAMING);                            )
 2) CASTLE HILL HOLDING LLC                                )
    (d/b/a CASTLE HILL GAMING); and                        )
 3) IRONWORKS DEVELOPMENT, LLC                             )
    (d/b/a CASTLE HILL GAMING)                             )
                                                           )
                  Defendants.                              )

              DECLARATION OF PETER SWANSON IN SUPPORT OF PLAINTIFF VIDEO
                 GAMING TECHNOLOGIES, INC.’S OPPOSITION TO DEFENDANTS’
                MOTION IN LIMINE TO EXCLUDE EVIDENCE OF DOCUMENTS AND
                 MATERIALS ALLEGEDLY TAKEN BY FORMER VGT EMPLOYEES

             1.     I am an attorney with the law firm of Covington & Burling LLP, counsel for

      Plaintiff Video Gaming Technologies, Inc. (“VGT”). I was admitted pro hac vice in this matter

      on August 8, 2017.

             2.     Attached as Exhibit R is a true and correct copy of excerpts from the deposition

      testimony of Richard Sisson, dated August 2, 2018.

             3.     Attached as Exhibit S is a true and correct copy of VGT’s Deposition Exhibit 256

      from the deposition of Alan Roireau taken on May 15, 2018 (CHG0023869-70).

             4.     Attached as Exhibit T is a true and correct copy of VGT’s Deposition Exhibit 474

      from the deposition of Seth Morgan taken on July 13, 2018 (CHG0124177-84).

             5.     Attached as Exhibit U is a true and correct copy of VGT’s Deposition Exhibit 416

      from the deposition of Jason Sprinkle taken on July 11, 2018 (CHG0019199).


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          6.     Attached as Exhibit V is a true and correct copy of Interrogatory No. 13 in VGT’s

   First Set of Interrogatories to CHG, dated September 25, 2017.

          7.     Attached as Exhibit W is a true and correct copy of CHG’s response to

   Interrogatory No. 13 in VGT’s First Set of Interrogatories to CHG, dated November 22, 2017, with

   corresponding Verification.

          8.     Attached as Exhibit X is a true and correct copy of CHG’s amended response to

   Interrogatory No. 13 in VGT’s First Set of Interrogatories to CHG, dated February 5, 2018, with

   corresponding Verification.

          9.     Attached as Exhibit Y is a true and correct copy of Request for Admission No. 1

   in VGT’s First Set of Requests for Admission to CHG, dated January 5, 2018.

          10.    Attached as Exhibit Z is a true and correct copy of CHG’s response to Request for

   Admission No. 1 in VGT’s First Set of Requests for Admission to CHG, dated February 5, 2018.

          11.    Attached as Exhibit AA is a true and correct copy of excerpts from the deposition

   testimony of Alan Roireau, dated August 1, 2018.

          12.    Attached as Exhibit BB is a true and correct copy of excerpts from the deposition

   testimony of Jason Sprinkle, dated May 18, 2018.

          13.    Attached as Exhibit CC is a true and correct copy of excerpts from the deposition

   testimony of Alan Roireau, dated May 15, 2018.

          14.    Attached as Exhibit DD is a true and correct copy of excerpts from the deposition

   testimony of Brandon Booker, dated July 10, 2018.

          15.    Attached as Exhibit EE is a true and correct copy of excerpts from the deposition

   testimony of Seth Morgan, dated July 13, 2018.




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          16.    Attached as Exhibit FF is a true and correct copy of VGT’s Deposition Exhibit 470

   from the deposition of Seth Morgan taken on July 13, 2018 (CHG0124213-22).

          17.    Attached as Exhibit GG is a true and correct copy of excerpts from the deposition

   testimony of Richard Sisson, dated April 17, 2018.

          18.    Attached as Exhibit HH is a true and correct copy of VGT’s Deposition Exhibit

   107 from the deposition of Richard Sisson taken on April 17, 2018 (CHG0007847-48).

          19.    Attached as Exhibit II is a true and correct copy of CHG’s response to

   Interrogatory No. 17 in VGT’s Third Set of Interrogatories to CHG, dated April 2, 2018.

          20.    Attached as Exhibit JJ is a true and correct copy of VGT’s Deposition Exhibit 106

   from the deposition of Richard Sisson taken on April 17, 2018 (CHG0034012).

          21.    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on November 16, 2018 in Washington, District of Columbia.

                                                /s/ Peter Swanson
                                                Peter Swanson




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on November 16, 2018, I filed the foregoing Declaration via ECF,

   which caused service to be effected on the following counsel for Defendants:

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   Attorneys for Defendants
                                                      /s/ Gary M. Rubman



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